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                                  1                                UNITED STATES DISTRICT COURT
                                  2                               CENTRAL DISTRICT OF CALIFORNIA

                                  3                                                                              AUG 16, 2019

                                  4                                                                                  BH

                                  5       John Burnell,                              5:10-cv-00809-VAP-OPx
                                  6                        Plaintiff,                5:12-cv-00692-VAP-OPx
                                  7                        v.                            Order GRANTING Motion for
                                  8       Swift Transportation Co. Inc., et             Conditional Class Certification
                                                                                         and Preliminary Approval of
                                  9          al.,                                       Class Settlement (Doc. No. 197)
                                 10                        Defendants.
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United States District Court




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                                             Before the Court is Motion for Conditional Class Certification and
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                                      Preliminary Approval of a Class Action Settlement. (Doc. No. 197). After
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                                      considering all papers filed in support of the Motion, the Court GRANTS the
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                                      Motion, conditionally certifies the class, and preliminarily approves the class
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                                      action settlement.
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                                                                        I. BACKGROUND
                                 19
                                             On June 7, 2019, Plaintiffs Gilbert Saucillo and James Rudsell
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                                      (collectively, “Plaintiffs”) filed their consolidated complaint1 on behalf of a
                                 21
                                      putative class of non-exempt truck drivers against Defendants Swift
                                 22
                                      Transportation Co., Inc. and Swift Transportation Co. of Arizona, LLC
                                 23
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                                           On June 7, 2019, after a stipulation by the parties, the Court consolidated
                                 25      this action, John Burnell v. Swift Transportation Co Inc., et al., No. 5:10-cv-
                                         00809-VAP-OPx, with James R. Rudsell v. Swift Transportation Company
                                 26      of Arizona LLC, et al., No. 5:12-cv-00692-VAP-OPx. (Doc. No. 190).

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                                  1   (collectively, “Defendants”). (Doc. No. 204). Plaintiffs bring the following
                                  2   claims: (1) recovery of unpaid minimum wages, (2) failure to provide meal
                                  3   and rest periods, (3) failure to indemnify, (4) failure to furnish timely accurate
                                  4   itemized wage statements, (5) unlawful pay instruments, (6) failure to pay
                                  5   timely all earned final wages, (7) unfair competition, and (8) civil penalties.
                                  6   (Id.).
                                  7
                                  8            The parties now request that this court conditionally certify the class
                                  9   for settlement purposes and preliminarily approve the class action
                                 10   settlement. (Doc. No. 197). Counsel for putative class plaintiffs in two
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                                 11   related cases, Lawrence J. Peck v. Swift Transportation Co. of Arizona, LLC
                                 12   et al., No. 5:14-cv-02206-VAP-KKx, and Sadashiv Mares v. Swift
                                 13   Transportation Co. of Arizona, LLC et al., No. 2:15-cv-07920-VAP-KKx, have
                                 14   filed objections. (Doc. No. 205; Rudsell Doc. No. 39).
                                 15
                                 16                              II.    LEGAL STANDARD
                                 17            Federal Rule of Civil Procedure 23(e) provides that “[t]he claims,
                                 18   issues, or defenses of a certified class may be settled, voluntarily dismissed,
                                 19   or compromised only with the court’s approval.” “[S]trong judicial policy . . .
                                 20   favors settlements, particularly where complex class action litigation is
                                 21   concerned.” Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir.
                                 22   1992). “The purpose of Rule 23(e) is to protect the unnamed members of
                                 23   the class from unjust or unfair settlements affecting their rights.” In re
                                 24   Syncor ERISA Litig., 516 F.3d 1095, 1100 (9th Cir. 2008). The Court’s
                                 25   review of the settlement is meant to be “extremely limited” and should
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                                  1   consider the settlement as a whole. Hanlon v. Chrysler Corp., 150 F.3d
                                  2   1011, 1026 (9th Cir. 1998).
                                  3
                                  4         At the preliminary approval stage, the Court need only consider
                                  5   whether the proposed settlement “(1) appears to be the product of serious,
                                  6   informed, non-collusive negotiations; (2) has no obvious deficiencies; (3)
                                  7   does not improperly grant preferential treatment to class representatives or
                                  8   segments of the class; and (4) falls within the range of possible approval.”
                                  9   Harris v. Vector Mktg. Corp., No. 3:08-cv-05198-EMC, 2011 WL 1627973, at
                                 10   *7 (N.D. Cal. Apr. 29, 2011); see also Moppin v. Los Robles Reg’l Med. Ctr.,
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                                 11   No. 5:15-cv-01551-JGB-DTBx, 2016 WL 7479380, at *8 (C.D. Cal. Sept. 12,
                                 12   2016) (“At the Preliminary Approval phase, the Court need only decide
                                 13   whether the settlement is potentially fair.”); In re Tableware Antitrust Litig.,
                                 14   484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007) (citing Federal Judicial Center,
                                 15   Manual for Complex Litigation § 30.44 (2d ed. 1985)).
                                 16
                                 17                                 III.   DISCUSSION
                                 18     A. Class Certification for Settlement Purposes
                                 19         Parties seeking class certification for settlement purposes must satisfy
                                 20   the requirements of Federal Rule of Civil Procedure 23. Amchem Prods.,
                                 21   Inc. v. Windsor, 521 U.S. 591, 620 (1997). To bring a class action under
                                 22   Rule 23(a), a plaintiff must demonstrate: (1) numerosity: the class is so
                                 23   numerous that joinder of all members is impracticable, (2) commonality:
                                 24   there are questions of law or fact common to the class, (3) typicality: the
                                 25   claims or defenses of the representative parties are typical of the claims or
                                 26   defenses of the class, and (4) adequacy of representation: the

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                                  1   representative parties will fairly and adequately protect the interests of the
                                  2   class. In addition to these requirements, a plaintiff must satisfy one of the
                                  3   Rule 23(b) prongs to maintain a class action. Under Rule 23(b)(3), the
                                  4   plaintiff must prove: “the questions of law or fact common to class members
                                  5   predominate over any questions affecting only individual members, and that
                                  6   a class action is superior to other available methods for fairly and efficiently
                                  7   adjudicating the controversy.”
                                  8
                                  9         The parties propose certification of the following class for settlement
                                 10   purposes: All drivers employed by Swift Transportation Co. of Arizona, LLC
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                                 11   and/or Swift Transportation Co., Inc. to perform work in the State of
                                 12   California and who earned mileage-based compensation during the period
                                 13   March 22, 2006 to January 31, 2019.
                                 14
                                 15       1. Numerosity
                                 16         To satisfy the numerosity requirement under Rule 23(a)(1), the class
                                 17   must be “so numerous that joinder of all members is impracticable,” but not
                                 18   necessarily impossible. Parkinson v. Hyundai Motor Am., 258 F.R.D. 580,
                                 19   588 (C.D. Cal. 2008). There is no specific number requirement, as the
                                 20   Court may examine the specific facts of each case. Ballard v. Equifax
                                 21   Check Servs., Inc., 186 F.R.D. 589, 594 (E.D. Cal. 1999). Here, the parties
                                 22   agree that the class size would be approximately 19,626 members. (Doc.
                                 23   No. 193, at 13). Accordingly, the Court finds the numerosity requirement is
                                 24   satisfied because joinder of all members would be impracticable.
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                                  1       2. Commonality
                                  2         The second prerequisite under Rule 23(a) is that “there are questions
                                  3   of law or fact common to the class.” Fed. R. Civ. P. 23(a)(2). Courts have
                                  4   construed this commonality requirement permissively. Hanlon v. Chrysler
                                  5   Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). As the Ninth Circuit explained,
                                  6   “[a]ll questions of fact and law need not be common to satisfy the rule;”
                                  7   instead, the “existence of shared legal issues with divergent factual
                                  8   predicates is sufficient, as is a common core of salient facts coupled with
                                  9   disparate legal remedies within the class.” Id. at 1019. “[T]he commonality
                                 10   requirement is interpreted to require very little.” In re Paxil Litig., 212 F.R.D.
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                                 11   539, 549 (C.D. Cal. 2003). “[F]or the commonality requirement to be met,
                                 12   there must only be one single issue common to the proposed class.” Haley
                                 13   v. Medtronic, Inc., 169 F.R.D. 643, 648 (C.D. Cal. 1996).
                                 14
                                 15         Here, the class members share the following common questions of
                                 16   fact: (1) were they authorized and permitted to take meal and rest periods,
                                 17   (2) were they paid for all hours worked performing non-driving tasks, (3)
                                 18   were they reimbursed for expenses, (4) were they provided accurate wage
                                 19   statements, and (5) were they paid wages timely upon discharge. (Doc. No.
                                 20   193, at 13-15). Even assuming Defendants could show “divergent factual
                                 21   predicates” or individualized factual inquires, such factual differences are
                                 22   permissible where, as here, there is a “common core of salient facts coupled
                                 23   with disparate legal remedies within the class.” Hanlon, 150 F.3d at 1019.
                                 24   Accordingly, the Court finds there are common questions of law and fact to
                                 25   unite the class.
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                                  1       3. Typicality
                                  2          The third prerequisite under Rule 23(a) is that “the claims or defenses
                                  3   of the representative parties are typical of the claims or defenses of the
                                  4   class.” Fed. R. Civ. P. 23(a)(3). The Ninth Circuit in Hanlon explained that
                                  5   “representative claims are ‘typical’ if they are reasonably co-extensive with
                                  6   those of absent class members; they need not be substantially identical.”
                                  7   150 F.3d at 1020. Thus, to find typicality, a “court does not need to find that
                                  8   the claims of the purported class representative are identical to the claims of
                                  9   the other class members.” Haley, 169 F.R.D. at 649. The class
                                 10   representatives “must be able to pursue [their] claims under the same legal
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                                 11   or remedial theories as the unrepresented class members.” Paxil, 21 F.R.D.
                                 12   at 549.
                                 13
                                 14          Here, Plaintiffs, as class representatives, share with all other class
                                 15   members that they were employed by Defendants as drivers earning
                                 16   mileage-based pay during the class period. (Doc. No. 193, at 15). Plaintiffs’
                                 17   claims and the claims of the other class members arise from the same
                                 18   conduct described above under the commonality requirement, and they
                                 19   would pursue the same legal and remedial theories as the unrepresented
                                 20   class members. Accordingly, the Court finds the typicality requirement is
                                 21   satisfied.
                                 22
                                 23       4. Adequacy of Representation
                                 24          Rule 23(a)(4) requires that “the representative parties will fairly and
                                 25   adequately protect the interests of the class.” The determination that
                                 26   representative parties would adequately protect the interests of the class “is

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                                  1   a question of fact that depends on the circumstances of each case.” In re
                                  2   Nat’l W. Life Ins. Deferred Annuities Litig., No. 3:05-cv-01018-JLS-WVGx,
                                  3   2010 WL 2735732, at *5 (S.D. Cal. July 12, 2010) (quoting McGowan v.
                                  4   Faulkner Concrete Pipe Co., 659 F.2d 554, 559 (5th Cir. 1981)). “Resolution
                                  5   of two questions determines legal adequacy: (1) do the named plaintiffs and
                                  6   their counsel have any conflicts of interest with other class members[,] and
                                  7   (2) will the named plaintiffs and their counsel prosecute the action vigorously
                                  8   on behalf of the class?” Hanlon, 150 F.3d at 1020.
                                  9
                                 10         Here, the parties agree that Plaintiffs and their counsel have no
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                                 11   conflicts of interest with other class members and have and will prosecute
                                 12   the action vigorously on behalf of the class. (Doc. No. 193, at 16). The
                                 13   Court has no reason to doubt the representations of the parties. Class
                                 14   counsel has identified and investigated potential claims, has experience
                                 15   handling class actions, has knowledge of the applicable law, and has
                                 16   committed all necessary resources to represent the class. (Id.); see Fed. R.
                                 17   Civ. P. 23(g)(1). Additionally, Plaintiffs’ interests align with all putative class
                                 18   members in ensuring appropriate recovery. Andrews Farms v. Calcot, Ltd.,
                                 19   No. 1:07-cv-00464-LJO-DLBx, 2009 WL 1211374, at *11 (E.D. Cal. May 1,
                                 20   2009). Accordingly, the Court finds Plaintiffs and class counsel adequately
                                 21   protect the interests of the class.
                                 22
                                 23       5. Rule 23(b)
                                 24         Rule 23(b)(3) applies where the court finds (1) “that the questions of
                                 25   law or fact common to class members predominate over any questions
                                 26   affecting only individual members,” and (2) “that a class action is superior to

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                                  1   other available methods for fairly and efficiently adjudicating the
                                  2   controversy.”
                                  3
                                  4         First, the “predominance inquiry tests whether proposed classes are
                                  5   sufficiently cohesive to warrant adjudication by representation.” Amchem,
                                  6   521 U.S. at 623. “When common questions present a significant aspect of
                                  7   the case and they can be resolved for all members of the class in a single
                                  8   adjudication, there is clear justification for handling the dispute on a
                                  9   representative rather than on an individual basis.” Hanlon, 150 F.3d at
                                 10   1022. Here, common questions of law and fact predominate, and a class
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                                 11   action is superior to individual litigation. Defendants allegedly subjected all
                                 12   class members to the same practices and each of the legal issues identified
                                 13   above are shared among all class members. The Court’s adjudication of the
                                 14   legality of those practices would resolve significant aspects of the case for
                                 15   all members.
                                 16
                                 17         Second, the “superiority inquiry under Rule 23(b)(3) requires
                                 18   determination of whether the objectives of the particular class action
                                 19   procedure will be achieved in the particular case.” Hanlon, 150 F.3d at
                                 20   1023. Here, the valuations presented by counsel demonstrate that each
                                 21   class member’s maximum average potential recovery would be roughly
                                 22   $11,000. (See Doc. No. 193, at 9, dividing the total recovery by the number
                                 23   of class members). “Even if efficacious, these claims would not only
                                 24   unnecessarily burden the judiciary, but would prove uneconomic for
                                 25   potential plaintiffs,” and “[i]n most cases, litigation costs would dwarf
                                 26   potential recovery.” Hanlon, 150 F.3d at 1023. There is no advantage in

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                                  1   individual members controlling the prosecution of separate actions because
                                  2   there would be less leverage for each plaintiff and they would have
                                  3   significantly reduced resources. See id.
                                  4
                                  5         Accordingly, the Court finds the class satisfies the requirements of
                                  6   Rule 23(b)(3) and conditionally certifies the class for the purposes of
                                  7   settlement approval.
                                  8
                                  9    B. Product of Serious, Informed, Non-Collusive Negotiations
                                 10         The Court agrees with the parties “that procedure for reaching this
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                                 11   settlement was fair and reasonable and that the settlement was the product
                                 12   of arms-length negotiations.” In re Tableware Antitrust Litig., 484 F. Supp.
                                 13   2d at 1080. Both sides were represented by experienced counsel, each
                                 14   with a comprehensive understanding of the strengths and weaknesses of
                                 15   the claims and defenses. Id. Additionally, the settlement was reached after
                                 16   an all-day mediation with neutral mediator, Mark Rudy. (Doc. No. 193, at
                                 17   20-22).
                                 18
                                 19    C. No Obvious Deficiencies
                                 20         With the following two exceptions, which the Court will review at a
                                 21   final approval hearing, the proposed settlement has no obvious deficiencies.
                                 22
                                 23         First, the amount requested in attorneys’ fees is exceeds the
                                 24   benchmark with no justification, such as extraordinary efforts by counsel.
                                 25   Reasonable attorneys’ fees are generally calculated by application of the
                                 26   lodestar method, which requires multiplying a reasonable hourly rate by the

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                                   1   hours reasonably expended. See City of Riverside v. Rivera, 477 U.S. 561,
                                   2   568 (1986) (citing Hensley v. Eckerhart, 461 U.S. 424, 433 (1983).
                                   3   Alternatively, “[i]n the Ninth Circuit, 25% is generally considered the
                                   4   benchmark for determining whether attorney’s fees are reasonable when
                                   5   they are based on a percentage of the award.” McKeen-Chaplin v.
                                   6   Provident Sav. Bank, FSB, No. 2:12-cv-03035-MCE-ACx, 2018 WL
                                   7   3474472, at *2 (E.D. Cal. July 19, 2018) (collecting cases). Here, Plaintiffs’
                                   8   counsel has failed to demonstrate that their work justifies a departure from
                                   9   the benchmark and Plaintiffs’ counsel has failed to provide a lodestar
                                 10    calculation as a crosscheck. Accordingly, the Court would not be not
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                                  11   inclined to approve attorneys’ fees, if based on the total award, in an amount
                                 12    exceeding 25% of the total award.
                                 13
                                 14          Second, the proposed enhancement awards to the named plaintiffs
                                 15    are excessive. “The district court must evaluate [incentive] awards
                                 16    individually, using ‘relevant factors includ[ing] the actions the plaintiff has
                                 17    taken to protect the interests of the class, the degree to which the class has
                                 18    benefitted from those actions, . . . the amount of time and effort the plaintiff
                                 19    expended in pursuing the litigation . . . and reasonabl[e] fear[s of] workplace
                                 20    retaliation.’” Staton v. Boeing Co., 327 F.3d 938, 977 (9th Cir. 2003). Courts
                                 21    also consider the risk to the class representative in commencing suit, both
                                 22    financial and otherwise, the notoriety and personal difficulties encountered
                                 23    by the class representative, the amount of time and effort spent by the class
                                 24    representative, the duration of the litigation, and the personal benefit (or lack
                                 25    thereof) enjoyed by the class representative as a result of the litigation. Van
                                 26    Vranken v. Atl. Richfield Co., 901 F. Supp. 294, 299 (N.D. Cal. 1995). Here,

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                                   1   the Court must protect the interests of the other class members. Each
                                   2   member of the class presently stands to receive an award averaging
                                   3   roughly $200. (See Doc. 197, at 11-12, dividing the roughly $4,000,000
                                   4   payable to the class by the estimated class size of 19,626 members). At
                                   5   this stage, Plaintiffs fail to demonstrate why their involvement justifies an
                                   6   award 25 times the size of the award to their fellow class members.
                                   7
                                   8         As these issues are not determined at the preliminary approval stage,
                                   9   however, the Court will make final determinations as to these two
                                 10    deficiencies at the final approval stage.
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                                  11
                                 12      D. Does Not Grant Preferential Treatment to Class Segments
                                 13          At this time, the settlement does not seem to give preferential
                                 14    treatment to a segment of the class—except for the disproportional incentive
                                 15    payments addressed above. So long as “the settlement agreement
                                 16    mandates that the net settlement amount will be shared equally by all of the
                                 17    participating class members,” preliminarily approval would be warranted.
                                 18    Dilts v. Penske Logistics, L.L.C., No. 3:08-cv-0318-CAB-BLMx, 2014 WL
                                 19    12515159, at *3 (S.D. Cal. July 11, 2014).
                                 20
                                 21      E. Falls Within the Range of Possible Approval
                                 22          Whether a settlement “falls within the range of possible approval,”
                                 23    depends on “substantive fairness and adequacy,” and the court should
                                 24    “consider plaintiffs’ expected recovery balanced against the value of the
                                 25    settlement offer.” In re Tableware Antitrust Litig., 484 F.Supp.2d at 1080.
                                 26    The burden is on counsel proposing the settlement to show that the

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                                   1   settlement is adequate. Philliben v. Uber Techs., Inc., No. 3:14-cv-05615-
                                   2   JST, 2016 WL 4537912, at *9 (N.D. Cal. Aug. 30, 2016).
                                   3
                                   4          The overall settlement amount of $7,250,000, while on the low end
                                   5   considering the parties estimate Plaintiffs may be entitled to $211,000,000,
                                   6   (Doc. No. 193, at 9), is within the range of reasonableness considering the
                                   7   risk attendant with further litigation and the early stage of this litigation. See
                                   8   Pierce v. Rosetta Stone, Ltd., No. C 11-01283 SBA, 2013 WL 1878918, at *7
                                   9   (N.D. Cal. May 3, 2013). Plaintiffs would face significant obstacles not only
                                 10    with certifying the class but also surviving summary judgment on all claims
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                                  11   and ultimately prevailing at trial. Although the Court will conduct a more
                                 12    thorough examination of the award at the final approval stage as required
                                 13    under Ninth Circuit precedent,2 the Court finds that after balancing Plaintiffs’
                                 14    expected recovery against the value of the settlement offer, the settlement
                                 15    offer falls within the range of possible approval.
                                 16
                                 17      F.   Objections
                                 18           The Court finds the objections of Lawrence Peck and Sadashiv Mares
                                 19    premature. “[A] plaintiff who files a proposed class action cannot legally
                                 20    bind members of the proposed class before the class is certified.” Standard
                                 21    Fire Ins. Co. v. Knowles, 568 U.S. 588, 593 (2013); Zepeda v. Paypal, Inc.,
                                 22    No. C 10-1668 SBA, 2015 WL 6746913, at *5 (N.D. Cal. Nov. 5, 2015)
                                 23    (“[S]ince [the objector, as an unnamed class member] is not a party to the
                                 24
                                 25       2
                                            Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1375 (9th Cir. 1993); ac-
                                          cord In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 458 (9th Cir. 2000)
                                 26       (citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)).

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                                   1   action, it is questionable whether he has standing to object to the proposed
                                   2   settlement at this juncture.”). Accordingly, any objections by potential class
                                   3   members would not be ripe until after this Court issues its order regarding
                                   4   class certification. Furthermore, Peck and Mares’ interests remain protected
                                   5   as they may object at the final approval phase or may opt out of the class.
                                   6
                                   7         Additionally, the Court finds the objections unpersuasive. Peck’s
                                   8   objections regarding potential class certification and the overall fairness of
                                   9   the award were addressed by the Court-ordered supplemental briefing,
                                 10    (Doc. No. 193), and the Court has addressed these issues more fully above.
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                                  11   Mares’ objections regarding the specific claim valuations fall beyond the
                                 12    scope of the inquiry at the preliminary approval stage regarding whether the
                                 13    amount falls within the range of possible approval, which, as addressed
                                 14    above, the Court finds is satisfied.
                                 15
                                 16                                IV.    CONCLUSION
                                 17          The Court therefore GRANTS the Motion, conditionally certifies the
                                 18    class, and preliminarily approves the class action settlement.
                                 19
                                 20          The class for settlement purposes is defined as: All drivers employed
                                 21    by Swift Transportation Co. of Arizona, LLC and/or Swift Transportation Co.,
                                 22    Inc. to perform work in the State of California and who earned mileage-
                                 23    based compensation during the period March 22, 2006 to January 31, 2019.
                                 24
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                                   1           Gregory E. Mauro and James R. Hawkins of James Hawkins APLC
                                   2   and Stanley D. Saltzman of Marlin and Saltzman are hereby appointed as
                                   3   joint Class Counsel.
                                   4
                                   5           On or before August 23, 2019, Defendants shall provide to the
                                   6   settlement administrator, ILYM Group Inc., a “Class List and Data Report,”
                                   7   showing each Plaintiff’s name, most current mailing address and telephone
                                   8   number, social security number, and the respective number of weeks each
                                   9   Plaintiff worked as a driver earning mileage-based pay during the
                                 10    Settlement Class Period. Defendants shall provide the list in an electronic
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                                  11   format reasonably acceptable to the Settlement Administrator. The
                                 12    Settlement Administrator shall keep the list confidential and will use it only
                                 13    for the purposes described herein.
                                 14
                                 15            The Court approves, as to form and content, the Notice of Proposed
                                 16    Settlement of Class Action attached to the Settlement Agreement as Exhibit
                                 17    1. Via first-class regular U.S. mail, the settlement administrator shall mail
                                 18    the notice form to all settlement class members on or before September 6,
                                 19    2019.
                                 20
                                 21            Settlement class members shall have until October 18, 2019 to
                                 22    respond, oppose the settlement, and/or choose to opt out of the settlement.
                                 23
                                 24            Defendants will file a declaration attesting to the mailing of the notice
                                 25    form, the inability to deliver any mailings due to invalid addresses, and the
                                 26    receipt of valid requests for exclusion on or before October 28, 2019.

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                                   1   Defendants will file a supplemental declaration stating the number of valid
                                   2   timely claims, objections, and requests for exclusions on or before
                                   3   November 4, 2019.
                                   4
                                   5         A Final Approval and Fairness Hearing is hereby set for 2:00 p.m. on
                                   6   December 2, 2019. The parties shall file final approval papers, including
                                   7   replies in support of final approval and Class Counsel’s fee application, on
                                   8   or before November 18, 2019.
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                                 10          IT IS SO ORDERED.
Central District of California
United States District Court




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                                 13       Dated:     8/16/19
                                 14                                                      Virginia A. Phillips
                                                                                  Chief United States District Judge
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